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 3
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 5
     Attorney for Plaintiffs DISH Network L.L.C.
 6   and Sling TV L.L.C.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                 Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                      DECLARATION OF TIMOTHY FRANK
13

14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Timothy Frank, declare as follow:
19           1.      I am a partner at the law firm Hagan Noll & Boyle LLC, counsel for Plaintiffs DISH
20   Network L.L.C. and Sling TV L.L.C. I make this declaration based on my personal knowledge and,
21   if called on to testify, would competently testify as stated herein. I submit this declaration in support
22   of Plaintiffs’ motion for preliminary injunction.
23           2.      Attached as Exhibit 1 is a true and correct copy of an order in the case DISH Network
24   L.L.C. v. Barcan, No. 4:21-cv-2384 (S.D. Tex.).
25           3.      Attached as Exhibit 2 is a true and correct copy of orders in the case DISH Network
26   L.L.C. v. Droid Tech. LLC, No. 8:19-cv-672-T-02AEP (M.D. Fla.).
27           4.      Attached as Exhibit 3 is a true and correct copy of orders in the case DISH Network
28   L.L.C. v. SET Broadcast LLC, No. 8:18-cv-01332-T-33AAS (M.D. Fla.).

                                            Declaration of Timothy Frank
                                                         1
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       Case 3:24-cv-00961-JSC Document 8-10 Filed 02/20/24 Page 2 of 2



 1          I declare under penalty of perjury that the foregoing is true and correct.
 2   Executed on February 20, 2024.
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 4                                                 /s/ Timothy Frank
                                                   Timothy Frank
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                                          Declaration of Timothy Frank
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     Case No. 3:24-cv-00961-JSC
